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Ss. D
NORTHERN DISTRICT OF TEXAS

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B ‘3 ciNes IN THE UNITED STATES DISTRICT COURT FILED
OR FOR THE NORTHERN DISTRICT OF TEKAS

CLERK, U.S. DISTRICT COURT
By

elD 27
ICT COURT

 

MAY ~ 8 2006

 

 

 

 

 

Deputy

 

DALLAS DIVISION
RICHARD BEALL, §
§
Plaintiff, §
§
VS. §
§
DALLAS POLICE, §
§
6 R | G| N A L Defendant. §

MAGISTRATE JUDGE'S QUESTIONNAIRE TO THE

NO. 3-06-CV-0733-D

 

U.S. DISTRICT CGURT

FILED

 

 

TO: Mr. Richard Beall
2467 Mallory Lane
Lancaster, TX 75134

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CLERK, U.S. DISDRICTD COURT
vn By

 

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DIRECTIONS: The Plaintiff shall answer the following Questions in the space provided for his

answer. The answers to these Questions shall be verified under penalty of perjury by the Plaintiff on the

signature line at the conclusion of this Questionnaire and returned to the United States Magistrate Judge

within twenty (20) days of the date upon which the Plaintiff receives the Questionnaire. Failure to file

answers to the Questions may result in the dismissal of the complaint for failure to prosecute pursuant to

Fed. R. Civ. P. 41(b).

Plaintiff is also ORDERED that at all times during the pendency of this action, he shall

immediately advise the Court of any change of address and its effective

date. Such notice shall be

captioned "NOTICE TO THE COURT OF CHANGE OF ADDRESS" and contain only information

pertaining to the change of address and its effective date. The notice shall not contain any motions for any

other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the

dismissal of the complaint for failure to prosecute pursuant to Fed. R. Civ. P. 41(b).

 

 

NORTHERN DISTRICT OF TEXAS 3
Case 3:66syPOB27-BORS Dewan FiledeAdbMemodeBIRAGE d24 PauelD 28

QUESTION NO. 1: Are you claiming that you were wrongfully arrested? If so, please state
specifically all facts which support your claim.

ANSWER: | {j)heil the poire aepved 2 my bPoregs hase, A we Never

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Case 3:Case-80628-06783 Davocuntér® 7 Filet apoeyj2obmgeragh PotkggelD 29
QUESTION NO. 2: Are you claiming that you were wrongfully convicted? If so, please state

specifically all facts which support your claim.
ANSWER: fs, A 28a (onluicteel , Pehee officiees Beealy and Peale

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Case 3:CaseS062%-De288 DOBEUImen?7 Fileddendb/defrodeagePageé of PagelD 30
QUESTION NO. 3: Please provide the following information pertaining to the incident you
discuss in your complaint:
a) the date
b) the criminal charge;

Cc) the court in which the charge was brought;

d) whether the facts you describe in your complaint were used in the prosecution;
e) if you have been convicted, the date of conviction;

f) if you have been sentenced, the length of sentence; and

g) if you have been sentenced, whether you have served your sentence.

ANSWER: B)
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QUESTION NO. 4: If you were convicted, have you challenged your conviction in a state writ

of habeas corpus or other state proceeding? If yes, please identify:

a) the type of proceeding;

b) the date that proceeding was filed;

Cc) the case number or other identifying number of the proceeding;
d) the court or state agency in which the proceeding was filed;

e) each and every ground raised in that proceeding; and

f) the result of the proceeding, including the date of the resolution.
ANSWER:

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QUESTION NO. 5: If you were convicted, has your conviction been successfully overturned,
including being reversed on appeal, expunged by executive order, declared invalid by a state tribunal or
called into question by a federal court’s issuance of a writ of habeas corpus? If so, please identify:

a) the type of proceeding;

b) when it occurred; and

c) the specific result.

 
Case 3:08se/3006-29-00783 DDoemnenb7 FilFneaMmsmehodsagPagé FHF PagelD 33

QUESTION NO. 6: You have named the Dallas Police as a defendant. This defendant is a
non-jural entity and cannot be sued for civil rights violations under 42 U.S.C. § 1983. List each person
or entity that you claim violated your civil rights and state each and every action taken by the following
persons which you claim violated your civil rights, giving specific names and facts such as date, time,
place, who was present, the events leading up to the incident and what happened afterward.

ANSWER:

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QUESTION NO. 7: If you suffered a physical injury for which you received diagnosis or

treatment, state who diagnosed or treated you, when, where, and what they said.

ANSWER: Who: Gocnlisee Chupape2eto% , De. dafell Sele Bek Laun/
Cant Park hospital, Na. Paxtteeniite , 278d 8 Harey
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Where: boo Aiseg, Ch ive / fovtop
Saint eal Hocpital
Mesthost+ Hospirel

What was said:

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QUESTION NO. 8: In your complaint, you do not specify what relief you are seeking as a
result of this suit. Do you seek any relief as a result of this suit? If so, please state specifically all
relief you are seeking.

ANSWER:

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Case 3:Case 206-¢y¥-00%88 DRaguimend7 Fil|ENech506200GagPagefl Oxf PagelD 36

QUESTION NO. 9: In your complaint, you state that you were beaten by the Dallas Police.
Please describe specifically the facts surrounding that claim, including any response or resistance you
offered whether physical or verbal.

ANSWER:

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Case 3@Qase,3:0Fe8-00733 DDecumentv7 FilkitedOSN82006ag Pagel 1of RagelD 37
QUESTION NO. 10: Please state specifically how you were injured as a result of the incident,
including whether those injuries were physical or mental in nature.
ANSWER: ‘
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Case 3:0ase D0G39-D0Z88 Ddacumend 7 FilFilenb0S2080200GagePagefl2a0f PagelD 38
QUESTION NO. 11: Are you claiming that the actions of any of the officers are the result of
an official policy or custom of the City of Dallas? If yes, please describe such policy or custom.

ANSWER: ~ li
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STATE OF TEXAS
COUNTY OF
VERIFICATION
I understand that a false statement or answer to any interrogatories in this cause of action will
subject me to penalties for perjury. I declare (or certify, verify or state) under penalty of perjury that

the foregoing answers are true and correct (28 U.S.C. §1746).

SIGNED on this / day of _= tune , 2006.

Tee Bf
